
16 N.Y.2d 851 (1965)
In the Matter of Joseph F. Lisa, Respondent,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York, Respondents, and Simon Gallet, Appellant.
Court of Appeals of the State of New York.
Argued September 9, 1965.
Decided September 9, 1965.
James J. Leff for appellant.
Charles E. Steinberg for petitioner-respondent.
No appearance for remaining respondents.
Concur: Chief Judge DESMOND and Judges DYE, VAN VOORHIS, BURKE, SCILEPPI, REYNOLDS[*] and PENNOCK.[*]
Order affirmed, without costs; no opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in the temporary absence of Judges FULD and BERGAN.

